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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 MARK W. DOBRONSKI,                               Case No. 2:22-cv-12039

                      Plaintiff,                  The Honorable Mark A. Goldsmith
                                                  United States District Judge
 v.
                                                  The Honorable Kimberly G. Altman
 FAMILY FIRST LIFE, LLC, et al.                   United States Magistrate Judge

                 Defendants.
 ____________________________________________________________________

                   PLAINTIFF’S OBJECTIONS TO
             REPORT AND RECOMMENDATION TO GRANT
             AMERICO, OMAHA, AND GREAT WESTERN’S
             MOTIONS TO DISMISS (ECF Nos. 103, 105, 113)
             AND TO GRANT IN PART AND DENY IN PART
          OTHER DEFENDANTS’ MOTIONS (ECF Nos. 106, 107, 143)

        Pursuant to Fed. R. Civ. P. 72(b)(2) and E.D. Mich. Local Rule 72.1(d), Plaintiff

 Mark W. Dobronski submits these written objections to the Report and

 Recommendation to Grant Americo, Omaha, and Great Western’s Motions to Dismiss

 (ECF Nos. 103, 105, 113) and to Grant in Part and Deny in Part Other Defendants’

 Motions (ECF Nos. 106, 107, 143) [ECF No. 178] (“R&R”) dated January 19, 2024.

                                     Objection No. 1

        Plaintiff objects to the Magistrate Judge’s R&R (V.4) that Plaintiff “has not

 sufficiently alleged vicarious, or direct, liability as to the insurance companies, United,


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 Americo, and Great Western” and, therefore, dismissed the insurance companies from

 this action. [ECF No. 178, PageID.2583].

       The R&R expressly finds that “[a]s for apparent authority, there is no indication

 that the principal (here, the insurance companies) held out to to Dobronski that the

 agents had authority to commit the tortious acts he pled. [ECF No. 178, PageID.2582].

 This is where Plaintiff respectfully disagrees with the R&R. Indeed, Plaintiff notes

 that, throughout the R&R, the Magistrate Judge goes into extensive detail in her

 explanations as to each issue, but the R&R appears to gloss past the issue of apparent

 authority, only devoting two short sentences to the issue:

              “As for apparent authority, there is no indication that the
              principal (here, the insurance companies) held out to
              Dobronski that the agents had authority to commit the
              tortious acts he alleges. Therefore, they are not liable under
              this theory.” [Citation omitted.]

 [ECF No. 178, PageID.2582].

       The Federal Communications Commission (“FCC”) has devoted quite a bit of

 time and attention to explaining the issue of vicarious liability under the Telephone

 Consumer Protection Act (“TCPA”) and, inter alia, apparent authority. In fact, the

 FCC’s pinnacle declaratory ruling on the issue of party liability under the TCPA was

 requested, and deferred to, by the United States Court of Appeals for the Sixth Circuit

 during the course of an appeal in the matter of Charvat v. EchoStar Satellite, LLC, 630

 F.3d 459, 465 (6th Cir. 2010) (referring matter under the doctrine of primary


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 jurisdiction). See In the Matter of the Joint Petition Filed By Dish Network, LLC, et

 al. For Declaratory Ruling Concerning the TCPA, 28 FCC Rcd. 6574, 6593, 2013 WL

 1934349, at *15, ¶ 48 (FCC, May 9, 2013) (“Dish Network Ruling”) (“[W]hile a seller

 does not generally initiate calls made through a third-party telemarketer, it nonetheless

 may be vicariously liable under federal common law agency-related principles for

 violations of either section 227(b) or 227(c) committed by telemarketers that initiate

 calls to market its products or services.”). An agency's interpretation of its own

 regulations is of controlling weight unless it is plainly erroneous or inconsistent with

 the regulation. Johnson v. Cohen, 6 Fed.Appx. 308, 311 (6th Cir. 2001).

       In Dish Network Ruling, the FCC has provided guidance in the area of apparent

 authority, as follows:

              “[W]e find that the following are illustrative examples of
              evidence that may demonstrate that the telemarketer is the
              seller's authorized representative with apparent authority to
              make the seller vicariously liable for the telemarketer's
              section 227(b) violations. For example, apparent authority
              may be supported by evidence that the seller allows the
              outside sales entity access to information and systems that
              normally would be within the seller's exclusive control,
              including: access to detailed information regarding the
              nature and pricing of the seller's products and services or to
              the seller's customer information. The ability by the outside
              sales entity to enter consumer information into the seller's
              sales or customer systems, as well as the authority to use the
              seller's trade name, trademark and service mark may also be
              relevant. It may also be persuasive that the seller approved,
              wrote or reviewed the outside entity's telemarketing scripts.
              Finally, a seller would be responsible under the TCPA for
              the unauthorized conduct of a third-party telemarketer that
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              is otherwise authorized to market on the seller's behalf if the
              seller knew (or reasonably should have known) that the
              telemarketer was violating the TCPA on the seller's behalf
              and the seller failed to take effective steps within its power
              to force the telemarketer to cease that conduct. At a
              minimum, evidence of these kinds of relationships—which
              consumers may acquire through discovery, if they are not
              independently privy to such information — should be
              sufficient to place upon the seller the burden of
              demonstrating that a reasonable consumer would not
              sensibly assume that the telemarketer was acting as the
              seller's authorized agent.”

 [Dish Network Ruling, 28 FCC Rcd. at 6592-93, 2013 WL 1934349, at *15, ¶ 46]. The

 FCC goes on further to state:

              “[W]e see no reason that a seller should not be liable under
              those provisions for calls made by a third-party telemarketer
              when it has authorized that telemarketer to market its goods
              or services. In that circumstance, the seller has the ability,
              through its authorization, to oversee the conduct of its
              telemarketers, even if that power to supervise is
              unexercised. In the case of either actions to enforce section
              227(b) or actions to enforce do-not-call restrictions under
              section 227(c), we stress that nothing in this order requires
              a consumer to provide proof — at the time it files its
              complaint — that the seller should be held vicariously liable
              for the offending call.”

 [Id., 28 FCC Rcd. at 6593, 2013 WL 1934349, at *15, ¶ 47].

       Apparent authority is the power held by an agent or other actor to affect a

 principal's legal relations with third parties when a third party reasonably believes the

 actor has authority to act on behalf of the principal and that belief is traceable to the

 principal's manifestations. Restatement (Third) Of Agency § 2.03 (2006). Apparent

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 authority holds a principal accountable for the results of third-party beliefs about an

 actor's authority to act as an agent when the belief is reasonable and is traceable to a

 manifestation of the principal. Id., comment c. As to the third person, apparent

 authority when present trumps restrictions that the principal has privately imposed on

 the agent. Id. The relevant appearance is that the principal has conferred authority on

 an agent. Id. Apparent authority, when present, often has the effect of reinforcing the

 legal effect of actual authority when actual authority has been conferred by a principal

 but is not readily provable by a third party. Id. Apparent authority is distinct from the

 circumstances of an agency relationship known to agent and principal, which may not

 be observable by a third party, even though the course of dealing between agent and

 principal will often be observed at least in part by third parties. Id. A principal may

 not choose to act through agents whom it has clothed with the trappings of authority

 and then determine at a later time whether the consequences of their acts offer an

 advantage. Id. The FCC has expressly recognized these indicia of apparent authority

 as a basis for vicarious liability. Dish Network Ruling, 28 FCC Rcd. at 6586, 2013 WL

 1934349, at *11, ¶ 34 n.102.

       There is ample indicia in the First Amended Complaint [ECF No. 99] (“FAC”)

 that the agents had apparent authority. Contrary to the finding set forth in the R&R, it

 is not necessary for Dobronski, at the pleading stage, to establish “that the principal

 (here the insurance companies) held out to Dobronski that the agents had authority to



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 commit the tortious acts he alleges” [ECF No. 178, PageID.2582]. It is only necessary

 for Plaintiff to establish his reasonable belief that the agent had the authority to act on

 behalf of the insurance company and that belief is traceable to the insurance company’s

 manifestations. See, e.g., Jonna v. Latinum, 617 F.Supp.3d 758, 775 (E.D.Mich.,

 2022).

          Evidence of this apparent authority is seen in each of the calls where proprietary

 pricing was quoted to Plaintiff. To quote these prices, the agents reasonably were

 provided access to the insurance carriers’ computer systems in order to have the

 detailed information regarding the nature and pricing of the seller's (insurance

 company’s) products. The agents quoted Omaha pricing at Call 1 [ECF No. 99,

 PageID.1024, ¶ 107], Call 4 [ECF No. 99, PageID.1027, ¶ 132], Call 7 [ECF No. 99,

 PageID.1031, ¶ 154]; Call 20 [ECF No. 99, PageID.1042, Call 29 [ECF No. 99,

 PageID.1051, ¶ 294]; and Call 32 [ECF No. 99, PageID.1055, ¶ 326]. The agents

 quoted Americo pricing at Call 8 [ECF No. 99, PageID.1032, ¶ 160]; and Call 10 [ECF

 No. 99, PageID.1034, ¶ 175]. The agents quoted Great Western pricing at Call 12

 [ECF No. 99, PageID.1036, ¶ 189].

          The fact the insurance applications and policies were presented to Plaintiff were

 sent on the insurance company’s forms complete with their proprietary trademarks and

 service marks, and mailed directly by the insurance company or transmitted directly




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 from the insurance company’s e-mail server1 to Plaintiff is also evidence of the

 apparent authority of each of the agents which has been manifested by the insurance

 companies. As examples: Americo [ECF No. 99, PageID.1033, ¶ 169], see ECF No.

 118, PageID.1746-1750; Omaha [ECF No. 99, PageID.1028, ¶ 134]. See ECF No.

 120-1, PageID.1806-1811; and Great Western [ECF No. 99, PageID.1037, ¶ 196], see

 ECF No. 116, PageID.1699-1704.

       The fact that the insurance companies claim lack of knowledge as to, and

 disclaim, the actions of their agents does not absolve the insurance companies of

 vicarious liability. Sellers (in this instance, the insurance companies) are required to

 monitor and police their telemarketers. As the FCC has declared, “allowing the seller

 to avoid potential liability by outsourcing its telemarketing activities to unsupervised

 third parties would leave consumers in many cases without an effective remedy for

 telemarketing intrusions.” Dish Network Ruling, 28 FCC Rcd. at 6588, 2013 WL

 1934349, at *12, ¶ 37. The FCC also noted that the Third Circuit determined in an

 analogous context, “absent the application of agency-related principles, the seller (in

 this instance) ‘would benefit from undeterred unlawful acts, and the statute's purpose

 ... would go unrealized.’” Id., n.112 (citing American Tel. and Tel. Co. v. Winback and


       1
          Logically, for the agent to be able to produce an insurance application of
 the insurance company’s form, and to transmit that completed application form to
 Plaintiff via the insurance company’s e-mail server, it is reasonable to conclude that
 the agent was authorized by the insurance company to have access to the insurance
 company’s computer systems.
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 Conserve Program, Inc., 42 F.3d 1421, 1434 (3rd Cir. 1994)).

       Lastly, in the R&R, it was held that the insurance applications were not evidence

 of ratification because “[t]he insurance applications were sent to Dobronski by the

 agents, not the insurance companies, and though they purported to be offers of sale, the

 insurance companies are not alleged to have accepted any application from Dobronski

 or his aliases.” [ECF No. 178, PageID.2583]. This finding in the R&R is clearly

 erroneous. For example, Great Western directly mailed Plaintiff an insurance policy,

 not an application. [ECF No. 99, PageID.1037, ¶ 196]. See ECF No. 116,

 PageID.1699-1704. Logically, Great Western accepted the application, because it

 issued the policy.2 Similarly, Americo mailed a policy to Plaintiff. [ECF No. 99,

 PageID.1033, ¶ 169]. See ECF No. 118, PageID.1746-1750. Lastly, an application

 was emailed to Plaintiff for review by Omaha. [ECF No. 99, PageID.1028, ¶ 134]. See

 ECF No. 120-1, PageID.1806-1811. This application was later followed up by the

 actual policy being mailed by Omaha to Plaintiff. See Exhibit 1.

       For the foregoing reasons, Plaintiff respectfully requests the Court to sustain this

 objection, overrule the recommendation to dismiss, and find that Plaintiff has plausibly

 and sufficiently alleged vicarious liability as to the defendant insurance companies,

 United, Americo, and Great Western.

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         The issuance of the policy by the insurance company also evidences a
 manifestation by the insurance company that the agent had authority to act on
 behalf of the insurance company. Logically, if the agent had no authority, the
 insurance company would not have issued the policy.
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                                    Objection No. 2

       The R&R recommends that Count III of the FAC, which alleges “premature

 hang up” in violation of 47 C.F.R. 64.1200(a)(6), be dismissed because “Dobronski

 does not allege who placed these calls and could not plausibly do so, because he

 gathered no inofrmation about the callers. Thus, the calls in question cannot be

 connected to any of the defendants.” [ECF No. 178, PageID.2588]. Plaintiff disagrees.

       Each of Calls 17, and 53-56 displayed the caller identification number of 734-

 228-7840. [ECF No. 99, PageID.1040, ¶ 218; PageID.1059, ¶ 348]. Throughout the

 FAC, many of the calls displayed the identical caller identification number of 734-228-

 7840, including Call 15 (Luke Friedman) [ECF No.99, PageID.1039, ¶¶ 209, 212],

 Call 21 (Shannon Adams) [ECF No. 99, PageID.1043-44, ¶¶ 239, 241], and Call 23

 (Shannon Adams) [ECF No. 99, PageID.1045, ¶¶ 248, 250]. Further, the faux name

 of Bruce Petri was originated by Plaintiff during Call 15 [ECF No. 99, PageID.1039,

 ¶ 211] and was parroted by the caller during, inter alia, Call 21 [ECF No. 99,

 PageID.1043, ¶ 240] and Call 23 [ECF No.99, PageID.1045, ¶ 250].

       It is a logical presumption that telephone calls from the same telephone number

 are originating from the same source. Thus, Plaintiff is able to plausibly connect these

 calls to at least Defendants Friedman and Adams.

       For the foregoing reasons, Plaintiff respectfully requests the Court to sustain this

 objection, overrule the recommendation to dismiss, and find that Plaintiff has plausibly

 and sufficiently alleged a claim under 47 C.F.R. § 64.1200(a)(6) set forth in Count III
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  of the FAC.

                                  CONCLUSION

        WHEREFORE, for the reasons set forth, supra, Plaintiff urges that Plaintiff’s

  objections be sustained and to the recommendations in the Report and

  Recommendation [ECF No. 178] that: the defendant insurance companies, Americo,

  Omaha, and Great Western be dismissed; and that Count III be dismissed, both be

  rejected.

                                               Respectfully submitted,



  Date: January 31, 2024                       _______________________________
                                               Mark W. Dobronski
                                               Post Office Box 222
                                               Dexter, Michigan 48130-0222
                                               Telephone: (734) 330-9671
                                               Email: markdobronski@yahoo.com
                                               Plaintiff In Propria Persona




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                            CERTIFICATE OF SERVICE

         I hereby certify that on January 31, 2024, I electronically filed the foregoing
  Plaintiff’s Objections to Report and Recommendation to Grant Americo, Omaha, and
  Great Western’s Motions to Dismiss (ECF Nos. 103, 105, 113) and to Grant in Part
  and Deny in Part Other Defendants’ Motions (ECF Nos. 106, 107, 143) with the Clerk
  of the Court via the Court’s Pro Se Document Upload utility, which will send
  notification of such filing to all counsel of record via the CM/ECF system, and I
  additionally served pro se parties by sending same in a sealed envelope, with first class
  postage fully prepaid thereupon, and deposited in the United States Mail, addressed as
  follows:

                             Lewis Jan Friedman
                             921 Ormsby Street
                             Vista, California 92084-1436

  And, additionally a copy to the Magistrate Judge by sending same in a sealed envelope,
  with first class postage fully prepaid thereupon, and deposited in the United States
  Mail, addressed as follows:

                             Honorable Kimberly G. Altman
                             United States Magistrate Judge
                             Theodore Levin U.S. Courthouse
                             231 West Lafayette Boulevard, Room 605
                             Detroit, Michigan 48226-2700




                                                  _______________________________
                                                  Mark W. Dobronski




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


  MARK W. DOBRONSKI,                        Case No. 2:22-cv-12039

                   Plaintiff,               The Honorable Mark A. Goldsmith
                                            United States District Judge
  v.
                                            The Honorable Kimberly G. Altman
  FAMILY FIRST LIFE, LLC, et al.            United States Magistrate Judge

                  Defendants.
  ____________________________________________________________________

                                INDEX OF EXHIBITS


  EXHIBIT 1:       Letter from United of Omaha Life Insurance Company to “Derrick
                   Simpson” dated April 13, 2022 transmitting life insurance policy
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